Case: 1:18-cv-03632 Document #: 1-3 Filed: 05/23/18 Page 1 of 4 PageID #:26




                              EXHIBIT 3
                           Case: 1:18-cv-03632 Document #: 1-3 Filed: 05/23/18 Page 2 of 4 PageID #:27




                                                P EP P ER C O R N




BRAN D
IDE N T I T Y
&
FACAD E




L OGO
NEW
BRA ND
I CON
The traditional calio-
graphic wording
are extracted and modi-
fied to be
an essential element, an
icon of the
Peppercorn brand. The
element is then
repreated in facede,
business card, menu,
and website in order to
to reinforce
the brand image.
               Case: 1:18-cv-03632 Document #: 1-3 Filed: 05/23/18 Page 3 of 4 PageID #:28


                                                                       Lili Ma <lili19871102@gmail.com>



Peppercorn branding first draft 
2 messages

KeyConcept Design <keyconceptdesign@gmail.com>                             Wed, Sep 16, 2015 at 6:01 PM
To: lili19871102@gmail.com

 Hi Lily,

 Attached is our first round draft for peppercorn branding. 

   hank you 
 T
  Echo 
  ­­  
  KEYCONCEPT
  1029 W. 35th St.
  Chicago, IL 60609
  (773)847­2888

       PEPPERCORN Branding_1.pdf 
       4831K


Lili Ma <lili19871102@gmail.com>                                           Wed, Sep 16, 2015 at 6:26 PM
To: luonant2@gmail.com

 [Quoted text hidden]


       PEPPERCORN Branding_1.pdf 
       4831K
                Case: 1:18-cv-03632 Document #: 1-3 Filed: 05/23/18 Page 4 of 4 PageID #:29

 Keyconcept Design
 US
 (773)847-2888
 keyconceptdesign@gmail.com
 www.keyconceptdesign.com




BILL TO                                                                   INVOICE # 1030
Lily Judy Boiling INC.                                                        DATE 08/25/2015
                                                                          DUE DATE 09/24/2015
                                                                             TERMS Net 30




 ACTIVITY                                          DATE           QTY            RATE           AMOUNT

 Logo Design                                     08/25/2015         1          600.00            600.00
 Customized Logo for Branding / Presentation
 Website Design                                  08/25/2015         1          800.00            800.00
 Customized 5 Pages Commercial Websites
 Business Card                                   08/25/2015         1          200.00            200.00
 Marketing/ promo prints                         08/25/2015         1          900.00            900.00
 Photography                                     08/25/2015         1         1,000.00          1,000.00
 Professional Photography with editing
 Menu and to go menu                             08/25/2015         1          500.00            500.00
 Deposit                                         08/25/2015         1             0.00              0.00
 30% of $4,000




                                                      BALANCE DUE
                                                                                         $4,000.00
